Case 8:20-cv-00048-JVS-JDE Document 94-2 Filed 08/04/20 Page 1 of 2 Page ID #:6656


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 8                 UNITED STATES DISTRICT COURT
     FOR THE CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
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     MASIMO CORPORATION,                          CASE NO. 8:20-cv-00048-JVS (JDEx)
10   a Delaware corporation; and
     CERCACOR LABORATORIES, INC.,
11   a Delaware corporation,                      [PROPOSED] ORDER GRANTING
                                                  APPLE’S EX PARTE APPLICATION
12                         Plaintiffs,            FOR AN ORDER SCHEDULING A
                                                  CASE MANAGEMENT
13          v.                                    CONFERENCE
14   APPLE INC.,                                  Hon. James V. Selna
     a California corporation,
15                                                No Hearing Noticed
                           Defendant.
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     [PROPOSED] ORDER GRANTING APPLE’S EX PARTE
     APPLICATION FOR AN ORDER SCHEDULING A CASE
     MANAGEMENT CONFERENCE                                      CASE NO. 8:20-CV-00048-JVS (JDEX)
     Case 8:20-cv-00048-JVS-JDE Document 94-2 Filed 08/04/20 Page 2 of 2 Page ID #:6657


 1            This matter is before the Court pursuant to Defendant Apple Inc.’s Ex Parte
 2     Application for an Order Scheduling a Case Management Conference (“Ex Parte
 3     Application”), under Local Rule 7-19.
 4            Having considered the documents filed in support of and in opposition to the Ex
 5     Parte Application, the argument of counsel, the pleadings on file in this action, and all
 6     other matters properly before the Court, being fully advised on the proceedings, and for
 7     good cause appearing:
 8            IT IS HEREBY ORDERED that Defendant Apple Inc.’s Ex Parte Application is
 9     GRANTED. The Court hereby schedules a case management conference to occur on
10     ____________________________ to discuss the schedule for this case.
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12              IT IS SO ORDERED.
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14     Dated:___________________                    _________________________________
                                                    The Honorable James V. Selna
15                                                  United States District Judge
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28     [PROPOSED] ORDER GRANTING APPLE’S EX PARTE
       APPLICATION FOR AN ORDER SCHEDULING A CASE
       MANAGEMENT CONFERENCE                           1          CASE NO. 8:20-CV-00048-JVS (JDEX)
